                       Case 4:15-cr-00038-JM                   Document 761         Filed 08/10/17            Page 1 of 3
AO 245D (Rev. 11/16)    Judgment in a Criminal Case for Revocations
                        Sheet I
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                                                                                                                  FenW~·, Ql,STRICT COURT
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                                       UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                       JAMES W.          CLERK
                                                                                                             By: _ _-f-1'-H~~:-:--.~
        UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                              v.                                        (For Revocation of Probation or Supervised Release)

              JESSICA TUCKER MONK
                                                                        Case No. 4:15cr00038-12 JM
                                                                        USM No. 29064-009
                                                                         Lisa Peters
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            General, Standard, Special      of the term of supervision.
D   was found in violation of condition(s) count(s)                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                              Violation Ended
1 - General                        Failure to report to probation when released from BOP                       05/08/2017
2 - Standard (3)                   Failure to answer truthfully all inquiries by the officer                   06/01/2017
3 - Standard (6)                   Failure to notify the probation officer of change of address                05/16/2017
4 - Special                        Failure to reside in residential re-entry center                            05/24/2017

       The defendant is sentenced as provided in pages 2 through _ _3 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5952                      08/08/2017
                                                                                                       position of Judgment
Defendant's Year of Birth:            1982                                                             ,
City and State of Defendant's Residence:
Arkansas
                                                                         U.S. DISTRICT JUDGE JAMES M. MOODY JR.


                                                                                   l l l:?
                                                                                8_~_
                                                                                           (
                                                                                               Name and Title of Judge


                                                                                                           Date
                       Case 4:15-cr-00038-JM                  Document 761   Filed 08/10/17      Page 2 of 3
AO 2450 (Rev. 11/16)    Judgment in a Criminal Case for Revocations
                        Sheet IA
                                                                                                            2_ of _ _3__
                                                                                            Judgment-Page _ _
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM

                                                       ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number                Nature of Violation                                                            Concluded
5 - General (3)                 Failure to refrain from the use of a controlled substance                      05/31/2017

6 - Standard (7)                Failure to refrain from the use of a controlled substance                      05/31/2017
                       Case 4:15-cr-00038-JM                  Document 761       Filed 08/10/17       Page 3 of 3
AO 2450 (Rev. 11/16)    Judgment in a Criminal Case for Revocations
                        Sheet 2- Imprisonment
                                                                                               Judgment- Page -~3- of       3
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM


                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

         1O MONTHS with no supervised release to follow




    ~ The court makes the following recommendations to the Bureau of Prisons:




    ~ The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
        D     at   _________ D a.m.                              D p.m.    on
        D     as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D     before 2 p.m. on
        D     as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                     to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                          By - - - - - - - - - - - - - - - - - - - - -
                                                                                        DEPUTY UNITED STATES MARSHAL
